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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
                                      §               Case No: 6:22-cv-00516
      Plaintiff,                      §
                                      §               PATENT CASE
vs.                                   §
                                      §               JURY TRIAL DEMANDED
NISSAN NORTH AMERICA, INC.,           §
                                      §
      Defendant.                      §
_____________________________________ §

                                           COMPLAINT

       Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Complaint

against Nissan North America, Inc. (“Defendant” and/or “Nissan”) for infringement of United

States Patent No. 9,300,723 (the “ ‘723 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with a place of business at 1 East

Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       4.      On information and belief, Defendant is a Delaware corporation with a principal

place of business at 300 Nissan Drive, Canton, MS 39046. On information and belief, Defendant

also has established place of business at 1 Nissan Way Franklin, TN, 37067. On information and

belief, Defendant may be served through its registered agent, Corporation Service Company,



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251 Little Falls Drive, Wilmington, DE 19808.

        5.      This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in this District, has conducted business

in this District, and/or has engaged in continuous and systematic activities in this District.

        6.      Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

District.

                                              VENUE

        7.      On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to be a resident of this District. Alternatively, acts of

infringement are occurring in this District and Defendant has a regular and established place of

business in this District at, for example, 5605 Legend Lake Pkwy, Waco, TX 76712.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

        8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.     Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to enforce

the ‘723 Patent and sue infringers.

        11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

        12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.     Defendant has infringed and continues to infringe one or more claims, including



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at least Claim 12 of the ‘723 Patent by making, using, and/or selling media systems covered by

one or more claims of the ‘723 Patent. For example, Defendant makes, uses, and/or sells the

Nissan car infotainment system, and any similar products (“Product”). Defendant has infringed

and continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.

       14.     Regarding Claim 12, the Product is configured to receive a media file (e.g., music

file or songs video) from a wireless mobile device (e.g., mobile phone) over a communication

network (e.g. Bluetooth network). The wireless mobile device (e.g., mobile phone) sends data

(e.g., music file) to the media system. Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.




       15.     The Product includes a wireless receiver (e.g., Bluetooth receiver). Certain

aspects of this element are illustrated in the screenshots below and/or in those provided in

connection with other allegations herein.



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       16.     The Product includes a security measure. For example, the Product must be paired

and connected by inputting a password and/or Bluetooth code (i.e., a security measure) to a

wireless mobile device (e.g., mobile phone) before receiving a media file. Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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       17.     The Product is disposed in an accessible relation to at least one interactive

computer network (e.g., Bluetooth network) that has a wireless range structured to permit

authorized access (e.g., via pairing code) to said at least one interactive computer network.

Certain aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




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    18.   When the wireless mobile device is within the wireless range, the wireless mobile



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device is detectable by the media system (e.g., the media system automatically detects a

smartphone when the mobile device is within Bluetooth range). Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




       19.     At least one digital media file (e.g., music file) is initially disposed on the wireless

mobile device (e.g., the mobile phone includes one or more music files). Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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       20.     The media system is structured to detect the wireless mobile device disposed

within the wireless range (e.g., media system automatically detects the mobile phone when it is

within Bluetooth range). Certain aspects of this element are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.




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       21.     A communication link (e.g., Bluetooth) is structured to dispose the media system

and the wireless mobile device (e.g. mobile phone) in a communicative relation with one another

via the at least one interactive computer network. Certain aspects of this element are illustrated

in the screenshots below and/or those provided in connection with other allegations herein.




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       22.     The communication link is initiated by the media system. The devices will

automatically connect when the units are in range. Certain aspects of this element are illustrated

in the screenshots below and/or those provided in connection with other allegations herein.




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    23.   The wireless mobile device and the media system are structured to transmit the


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at least one digital media file there between via the communication link (e.g., media system

allows for the transmission of files between itself and the wireless mobile device; e.g., the mobile

device transmits the music file to the media system). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.




          24.   The communication link is structured to bypass the security measure of the media

system for a limited permissible use of the communication link by the wireless mobile device

for only transferring the at least one digital media file to, and displaying the at least one digital

media file on, the media system (e.g., the media system bypasses the security measure of the

Bluetooth network). Certain aspects of this element are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.




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       25.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       26.     Defendant’s actions complained of herein are causing irreparable harm and


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monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          27.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                   DEMAND FOR JURY TRIAL

          28.   Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of

Civil Procedure, requests a trial by jury of any issues so triable by right.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,300,723 (or, in the

alternative, awarding Plaintiff running royalties from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: May20, 2022.                 Respectfully submitted,



                                    /s/ Jay Johnson
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